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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

  BRIGIDA ELLIOTT, individually and on
  behalf of all other persons similarly situated,
                                                       Case No. 0:19-CV-62426-RS
                  Plaintiff,
                                                       Judge Rodney Smith
           v.
                                                       Magistrate Judge Alicia O. Valle
  BARBEQUE INTEGRATED, INC.,

                  Defendant.


                      DEFENDANT’S ANSWER TO PLAINTIFF’S
                AMENDED COLLECTIVE AND CLASS ACTION COMPLAINT

           Defendant Barbeque Integrated, Inc. (“Smokey Bones” or “Defendant”), through its

  attorneys, hereby submits its Answer to Plaintiff Brigida Elliott’s Amended Collective And Class

  Action Complaint (the “Complaint”).

                                     NATURE OF THE ACTION

   COMPLAINT ¶1:

         Plaintiff, and all similarly situated, seek to bring a collective action pursuant to 29 U.S.C.
  § 216(b), seeking all available relief under the Fair Labor Standards Act of 1938 (“FLSA”), 29
  U.S.C. §§ 201, et seq.

  ANSWER:

           Defendant admits that Plaintiff purports to seek to bring a collective action under the

  FLSA. Defendant denies that a collective action in appropriate, denies that it violated the FLSA,

  and denies that Plaintiff is entitled to any relief whatsoever. Defendant denies any remaining

  allegations in Paragraph 1 of the Complaint.

   COMPLAINT ¶2:

          Plaintiff, and all similarly situated, seek to bring a class action pursuant to the Fed. R.
  Civ. P. 23 (“Rule 23”), seeking all available relief under 26 U.S.C. § 7434.



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  ANSWER:

           Defendant admits that Plaintiff purports to seek to bring a class action pursuant to Rule

  23. Defendant denies that a class action is appropriate, denies that Plaintiff is entitled to any

  relief whatsoever, and denies any remaining allegations in Paragraph 2 of the Complaint.

   COMPLAINT ¶3:

         Plaintiff, and all similarly situated, seek to bring a state-wide Massachusetts Class Action
  pursuant to the to the Fed. R. Civ. P. 23 for violations of Massachusetts contract and common
  law.

  ANSWER:

           Defendant admits that Plaintiff purports to seek to bring a state-wide Massachusetts Class

  Action for alleged violations of Massachusetts contract and common law. Defendant denies that

  a class action is appropriate, denies that it violated Massachusetts contract or common law, and

  denies that Plaintiff is entitled to any relief whatsoever. Defendant denies any remaining

  allegations in Paragraph 3 of the Complaint.

   COMPLAINT ¶4:

         Plaintiff, individually, seeks all available relief under the Massachusetts Minimum Wage
  Act (“Wage Act”), specifically Massachusetts General Laws (“M.G.L.”) ch. 149, §§ 148, 150.

  ANSWER:

           Defendant admits that Plaintiff purports to seek all available relief under the

  Massachusetts Minimum Wage Act. Defendant denies that Plaintiff is entitled to any relief

  whatsoever and denies any remaining allegations in Paragraph 4 of the Complaint.

   COMPLAINT ¶5:

          Plaintiff’s FLSA Collective Action alleges on behalf of her and all current and former
  employees who work, or have worked, at any Smokey Bones restaurant, nationwide, as KSBMs
  and other employees holding comparable positions with different titles employed by Defendant
  in the United States and who elect to opt into this action pursuant to the FLSA (hereinafter the
  “ FLSA Collective Action Members”), that they are entitled to, inter alia: (i) unpaid overtime
  wages for hours worked in excess of forty in a workweek, as required by law, and (ii) liquidated



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  damages pursuant to the FLSA, 29 U.S.C.§ 201, et seq., for hours worked between September
  30, 2016, and the date of filing in this action (the “FLSA Collective Action Period “).

  ANSWER:

           Defendant denies the allegations contained in Paragraph 5 of the Complaint.

   COMPLAINT ¶6:

          Plaintiff’s § 7434 Class Action alleges on behalf of her and all current and former
  employees who work, or have worked, at any Smokey Bones restaurant, nationwide as KSBMs
  and other employees holding comparable positions with different titles employed by Defendant
  in the United States and who elect to opt out of this action under Rule 23, for violations of 26
  U.S.C. § 7434. (hereinafter the “§ 7434 Class” or “§ 7434 Class Action Members”), that they are
  entitled to inter alia: (i) an amount equal to the greater of $5,000 or the sum of any actual
  damages sustained, as required by 26 U.S.C. § 7434(b), commencing six years from the filing of
  this action (“§ 7434 Class Action Period”).

  ANSWER:

           Defendant denies the allegations contained in Paragraph 6 of the Complaint.

   COMPLAINT ¶7:

          Plaintiff’s Massachusetts Class Action alleges on behalf of her and all current and former
  employees who work, or have worked, at any Smokey Bones restaurant in the Commonwealth of
  Massachusetts, as KSBMs and other employees holding comparable positions with different
  titles employed by Defendant in Massachusetts, and who elect to opt out of this action under
  Rule 23, for violations of Massachusetts common law (hereinafter the “Massachusetts Class”, or
  “Massachusetts Class Action Members”), that they are entitled to inter alia: (i) unpaid regular
  wages for hours worked in excess of forty in a workweek, as required by their employment
  contract with Defendant, for hours worked beginning six years from the date of filing of this
  action, September 30, 2013 through September 29, 2016, approximately one hundred fifty-six
  (156) week period (the “Massachusetts Class Action Period”).

  ANSWER:

           Defendant denies the allegations contained in Paragraph 7 of the Complaint.

                                   JURISDICTION AND VENUE

   COMPLAINT ¶8:

         This Court has subject matter jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C.
  § 1331, § 1337, and §1340.

  ANSWER:

           The allegations in Paragraph 8 state legal conclusions to which no answer is required.

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   COMPLAINT ¶9:

           This Court has diversity jurisdiction under 18 U.S.C. § 1331 and § 1337.

  ANSWER:

           The allegations in Paragraph 9 state legal conclusions to which no answer is required.

   COMPLAINT ¶10:

         This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28
  U.S.C. § 1332 and § 1367.

  ANSWER:

           The allegations in Paragraph 10 state legal conclusions to which no answer is required.

   COMPLAINT ¶11:

         This Court also has jurisdiction over Plaintiff’s FLSA claims pursuant to 29 U.S.C.
  § 216(b).

  ANSWER:

           The allegations in Paragraph 11 state legal conclusions to which no answer is required.

   COMPLAINT ¶12:

        Venue is proper pursuant to 28 U.S.C. § 1391(b)(1). Venue is proper because: Defendant
  Barbeque Integrated, Inc., has its principal place of business in Aventura, Florida.

  ANSWER:

           The first sentence of Paragraph 12 of the Complaint states a legal conclusion to which no

  answer is required. Defendant admits the second sentence of Paragraph 12 of the Complaint.

   COMPLAINT ¶13:

          Upon information and belief, at least one member of each of the proposed classes is a
  citizen of a state different from that of Defendant.

  ANSWER:

           Defendant denies the allegations set forth in Paragraph 13 of the Complaint.




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   COMPLAINT ¶14:

         Upon information and belief, citizenship of the members of the proposed classes is
  dispersed among a substantial number of states.

  ANSWER:

           Defendant denies the allegations set forth in Paragraph 14 of the Complaint.

   COMPLAINT ¶15:

         Upon information and belief, there are more than 100 members of the proposed classes in
  the aggregate.

  ANSWER:

           Defendant denies the allegations set forth in Paragraph 15 of the Complaint.

   COMPLAINT ¶16:

           Upon information and belief, Defendant regularly conducts business in this District.

  ANSWER:

           Defendant admits the allegations contained in Paragraph 16 of the Complaint.

   COMPLAINT ¶17:

         Upon information and belief, the amount in controversy in this matter exceeds the sum or
  value of $30,000,000.00, exclusive of interest and costs.

  ANSWER:

           Defendant denies the allegations set forth in Paragraph 17 of the Complaint.

   COMPLAINT ¶18:

        Upon information and belief, in April of 2015, Plaintiff was hired as a Service Manager
  and was paid a weekly salary of approximately $1,115.38.

  ANSWER:

           Defendant admits that Plaintiff was hired as a Service Manager in or around April 2015.

  Defendant denies the remaining allegations set forth in Paragraph 18 of the Complaint.




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   COMPLAINT ¶19:

        Upon information and belief, in October of 2016, Plaintiff was promoted to Kitchen
  Manager and was paid a weekly salary of approximately $1,211.54.

  ANSWER:

           Defendant denies the allegations set forth in Paragraph 19 of the Complaint.

   COMPLAINT ¶20:

         This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C. § 2201
  and § 2202.

  ANSWER:

           The allegations in Paragraph 20 state legal conclusions to which no answer is required.

                                            THE PARTIES

   COMPLAINT ¶21:

           Plaintiff is an adult individual who is a resident of Nashua, New Hampshire.

  ANSWER:

           Defendant admits that Plaintiff is an adult individual who purports to be a resident of

  Nashua, New Hampshire. Defendant denies any remaining allegations in Paragraph 21 of the

  Complaint.

   COMPLAINT ¶22:

         Plaintiff was employed by Smokey Bones Bar & Fire Grill, from approximately 2004-
  2013, and later as a Service and Kitchen Manager for an uninterrupted period from April 2015 -
  June 2018.

  ANSWER:

           Defendant admits the allegations contained in Paragraph 22 of the Complaint.

   COMPLAINT ¶23:

          Upon information and belief, Plaintiff signed an employment contract in April of 2015,
  as a condition to her employment with Defendant, she was hired as a salaried Service Manager
  earning approximately $58,000.00 per year.




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  ANSWER:

           Defendant admits that Plaintiff was hired as a salaried Service Manager in April 2015.

  Defendant denies the remaining allegations in Paragraph 23 of the Complaint.

   COMPLAINT ¶24:

         Plaintiff was employed by Defendant at the Smokey Bones Bar & Fire Grill, and from
  April 2015 through her resignation in June 2018.

  ANSWER:

           Defendant admits the allegations contained in Paragraph 24 of the Complaint.

   COMPLAINT ¶25:

           Plaintiff worked at both the Tyngsboro, MA and Peabody, MA locations.

  ANSWER:

           Defendant admits that Plaintiff worked in Tyngsboro, MA and Peabody, MA. Defendant

  denies any remaining allegations contained in Paragraph 25 of the Complaint.

   COMPLAINT ¶26:

         Plaintiff regularly worked in excess of 40 hours per week, and frequently worked
  approximately 65 hours per week, without being paid overtime.

  ANSWER:

           Defendant denies the allegations set forth in Paragraph 26 of the Complaint.

   COMPLAINT ¶27:

           Plaintiff is a covered employee within the meaning of the FLSA and Wage Act.

  ANSWER:

           The allegations in Paragraph 27 state legal conclusions to which no answer is required.

   COMPLAINT ¶28:

           The written Consent to Sue form for Plaintiff is filed herewith as Exhibit “A”.




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  ANSWER:

           Defendant admits that Plaintiff filed Exhibit A to the Complaint and that Plaintiff

  purports that Exhibit A is a written Consent to Sue form for Plaintiff. Defendant denies any

  remaining allegations in Paragraph 28 of the Complaint.

   COMPLAINT ¶29:

         Defendant Barbeque Integrated, Inc., is a wholly owned subsidiary of Sun Capital
  Partners, Inc.

  ANSWER:

           Defendant denies the allegations set forth in Paragraph 29 of the Complaint.

   COMPLAINT ¶30:

         Defendant Barbeque Integrated, Inc., is a Delaware corporation with its principal place of
  business in Aventura, Florida.

  ANSWER:

           Defendant admits the allegations contained in Paragraph 30 of the Complaint.

   COMPLAINT ¶31:

          At all times relevant herein, Defendant has employed Plaintiff and has been an employer
  within the meaning of Section 3(d) of the FLSA (29 U.S.C. § 203(d)), and Massachusetts law.

  ANSWER:

           Defendant admits that it has employed Plaintiff. The remaining allegations in Paragraph

  31 state legal conclusions to which no answer is required.

   COMPLAINT ¶32:

         At all times relevant herein, Defendant has been an enterprise within the meaning of
  Section 3(r) of the FLSA (29 U.S.C. § 203(r)), and Massachusetts law.

  ANSWER:

           The allegations in Paragraph 32 state legal conclusions to which no answer is required.




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   COMPLAINT ¶33:

         At all times relevant herein, Defendant has been an enterprise engaged in commerce or
  the production of goods for commerce within the meaning of Section 3(s)(1) of the FLSA, and
  Massachusetts law, as Defendant has had employees engaged in commerce or in the production
  of goods for commerce, or employees handling, selling, or otherwise working on goods or
  materials that have moved in or were produced for commerce by any person. Furthermore,
  Defendant has a gross volume of sales in an amount of at least $500,000.

  ANSWER:

           The allegations in Paragraph 33 state legal conclusions to which no answer is required.

   COMPLAINT ¶34:

        At all times relevant herein, Plaintiff and all similarly situated employees were engaged
  in commerce or in the production of goods for commerce as required by 29 U.S.C. § 206-207,
  and Massachusetts law.

  ANSWER:

           The allegations in Paragraph 34 state legal conclusions to which no answer is required.

   COMPLAINT ¶35:

        Defendant permitted or directed the work of Plaintiff and similarly situated employees,
  and Defendant benefited from work performed by Plaintiff and similarly situated employees.

  ANSWER:

           Defendant admits that it permitted or directed work performed by Plaintiff and benefitted

  from work performed by Plaintiff. Defendant denies the remaining allegations contained in

  Paragraph 35 of the Complaint.

   COMPLAINT ¶36:

          Defendant applies the same employment policies, practices, and procedures to all
  similarly situated KSBMs.

  ANSWER:

           Defendant denies the allegations set forth in Paragraph 36 of the Complaint.




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    COMPLAINT ¶37:

           Pursuant to Defendant’s policy, pattern, and practice, Defendant did not pay Plaintiff and
   other similarly situated employees proper overtime wages for hours they worked for Defendant’
   s benefit in excess of 40 hours in a workweek, constituting wage theft.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 37 of the Complaint.

                                     FACTUAL ALLEGATIONS

    COMPLAINT ¶38:

           Smokey Bones is a casual dining bar and grill. Since 2007, Smokey Bones has been a
   wholly owned subsidiary of Sun Capital Partners, Inc. Smokey Bones owns and operates an
   estimated 66 restaurant locations across the United States. Smokey Bones employs a general
   manager at each location who is ultimately responsible for each restaurant, including managing
   restaurant operations, making staffing decisions, and setting compensation. Since 2015 Smokey
   Bones has employed approximately more than 100 General Managers at its 66 restaurant
   locations who, in turn, have worked with various Service Managers, Bar Managers, Kitchen
   Managers, and more than 6,500 tipped employees.

   ANSWER:

            Defendant admits that Smokey Bones is a casual dining bar and grill. Defendant admits

   that it employs a general manager at each location who is ultimately responsible for each

   restaurant, including managing restaurant operations, making staffing decisions, and setting

   compensation. Defendant admits that since 2015 it has employed more than 100 General

   Managers at its restaurant locations who have worked with various Service Managers, Bar

   Managers, Kitchen Managers, and tipped employees. Defendant denies the remaining

   allegations in Paragraph 38 of the Complaint.

    COMPLAINT ¶39:

          Upon information and belief, each Smokey Bones location has one General Manager, a
   Kitchen Manager, a Service Manager, a Bar Manager, and other hourly positions such as servers,
   bartenders, and line cooks. General Managers and KSBMs are salaried employees.




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   ANSWER:

            Defendant admits that it employs individuals in the roles of General Manager, Kitchen

   Manager, Service Manager, Bar Manager, server, bartender, and line cook. Defendant admits

   that it pays certain individuals employed as General Manager, Kitchen Manager, Service

   Manager, and Bar Manager on a salaried basis. Defendant denies the remaining allegations in

   Paragraph 39 of the Complaint.

    COMPLAINT ¶40:

        Defendant employed Plaintiff and the FLSA, § 7434, and Massachusetts Class Action
   Members (hereinafter referred to as the “Collective and Class Action Members”) as KSBMs.

   ANSWER:

            Defendant admits that it employed Plaintiff as a Kitchen Manager and Service Manager.

   Defendant denies the remaining allegations in Paragraph 40 of the Complaint.

    COMPLAINT ¶41:

           Defendant maintained control, oversight, and discretion over the operation of their
   restaurants, including their employment practices with respect to Plaintiff and the Collective and
   Class Action Members.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 41 of the Complaint.

    COMPLAINT ¶42:

          Plaintiff and the Collective and Class Action Members performed work as KSBMs that
   was integrated into the normal course of Defendant’s business.

   ANSWER:

            Defendant admits that Plaintiff was employed as a Kitchen Manager and Service

   Manager and that she performed office and non-manual work directly related to the management

   of Defendant’s enterprise or a customarily recognized department or subdivision of its enterprise

   and its general business operations. Defendant denies the remaining allegations in Paragraph 42

   of the Complaint.

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    COMPLAINT ¶43:

          Consistent with Defendant’s centralized, company-wide policy, pattern and/or practice,
   that was authorized, established, promulgated, and/or ratified by its corporate office in Aventura,
   Florida, Defendant classified Plaintiff and the Collective and Class Action Members as exempt
   from the overtime protections of the FLSA and Wage Act.

   ANSWER:

            Defendant admits that Plaintiff was exempt from the overtime requirements of the FLSA

   and the Wage Act. Defendant denies the remaining allegations in Paragraph 43 of the

   Complaint.

    COMPLAINT ¶44:

       Defendant’s classification determination did not vary depending on location where
   KSBMs worked.

   ANSWER:

            Defendant admits that Plaintiff was classified as an exempt employee at both Smokey

   Bones locations she was employed. Defendant denies the remaining allegations in Paragraph 44

   of the Complaint.

    COMPLAINT ¶45:

          Defendant did not perform a person-by-person analysis of Plaintiff and the Collective and
   Class Action Members when making the decision to classify all KSBMs as exempt
   administrative employees under the FLSA, Massachusetts common law, or the Wage Act.

   ANSWER:

            Defendant denies the allegations contained in Paragraph 45 of the Complaint.

    COMPLAINT ¶46:

          Plaintiff and Collective and Class Action Members regularly worked in excess of 40
   hours per workweek without being paid overtime wages, in violation of the FLSA and
   Massachusetts law.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 46 of the Complaint.



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    COMPLAINT ¶47:

         Upon information and belief, Plaintiff and the Collective and Class Action Members
   worked approximately 65 hours per week.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 47 of the Complaint.

    COMPLAINT ¶48:

        The number of shifts that Plaintiff and each individual Collective and Class Action
   Members worked per week can be ascertained from Defendant’s records.

   ANSWER:

            Defendant admits that the number of shifts that Plaintiff worked each week during her

   employment can be ascertained from its records. Defendant denies the remaining allegations in

   Paragraph 48 of the Complaint.

    COMPLAINT ¶49:

           Upon information and belief, Defendant failed to keep accurate records of the hours that
   Plaintiff and the Collective and Class Action Members worked.

   ANSWER:

            Defendant denies the remaining allegations in Paragraph 49 of the Complaint.

    COMPLAINT ¶50:

          Defendant assigned and is aware of all the work that Plaintiff and the Collective and
   Class Action Members have performed.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 50 of the Complaint.

    COMPLAINT ¶51:

         The work performed for Defendant by Plaintiff and the Collective and Class Action
   Members required little skill and no capital investment, nor did said work include the exercise of
   meaningful independent judgment and discretion.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 51 of the Complaint.

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    COMPLAINT ¶52:

           During all of the Collective and Class Action Periods, Plaintiff and the Collective and
   Class Action Members performed the same primary non-exempt job duties, such as prepping
   ingredients, answering customer phone calls, organizing inventory, plating, moving and setting
   tables, and working as line cooks.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 52 of the Complaint.

    COMPLAINT ¶53:

          The performance of manual labor duties occupied the majority of Plaintiff’s and the
   Collective and Class Action Member’s working hours. For the majority of their approximately
   65 hours of work per week, Plaintiff and the Collective Class Action Members were engaged in
   the same hourly work as non-exempt employees.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 53 of the Complaint.

    COMPLAINT ¶54:

          Plaintiff and the Collective and Class Action Members potentially exempt duties, such as
   doing paperwork and participating in the interviewing process, took up a substantially smaller
   portion of their time at the restaurant.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 54 of the Complaint.

    COMPLAINT ¶55:

          Upon information and belief, when Plaintiff and the Collective and Class Action
   Members were required to perform duties that could be deemed Managerial, such as making
   schedules, these duties were strictly supervised by the General Manager, Plaintiff and the
   Collective and Class Action Members were constrained by Smokey Bones’ operating program
   and guidelines.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 55 of the Complaint.

    COMPLAINT ¶56:

          During the Collective and Class Action Periods, Plaintiff and all Collective and Class
   Action Members primary duties were not directly related to Defendant’s management or general
   business operations. The most important duty for Plaintiff while she worked as a Service and

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   Kitchen Manager was filling in for and performing the non-exempt duties of hourly employees,
   so that Defendant could keep low labor levels for those employees.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 56 of the Complaint.

    COMPLAINT ¶57:

          Upon information and belief, Plaintiff and the Collective and Class Action Members
   were required to meet eleven percent (11%) labor budgets for the week.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 57 of the Complaint.

    COMPLAINT ¶58:

            Upon information and belief, Smokey Bones enforced the low labor budgets through
   either its District Managers, or Director of Operations; who were at all times directly employed
   by the Smokey Bones corporate office; and at all times maintained oversight over a defined
   geographical region of Smokey Bones restaurants. The District Managers or Director of
   Operations were required by the Smokey Bones corporate office to enforce this policy, and
   would then pressure the Plaintiff and the Collective and Class Action Members to meet this
   extremely unrealistic labor budget.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 58 of the Complaint.

    COMPLAINT ¶59:

           Upon information and belief, eleven percent (11%) is an extremely low level for labor
   costs in the service industry.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 59 of the Complaint.

    COMPLAINT ¶60:

           Upon information and belief, the corporate office also required KSBMs at all locations to
   ensure food cost variance was less than 0.8%; an extremely low level for food cost variance in
   the service industry.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 60 of the Complaint.


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    COMPLAINT ¶61:

          During the Collective and Class Action Periods, Plaintiff and the Collective and Class
   Action Members primary duties did not include the exercise of discretion or independent
   judgment regarding matters of significance.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 61 of the Complaint.

    COMPLAINT ¶62:

          All the work that Plaintiff and the Collective and Class Action Members have performed
   has been assigned by Defendant, and/or Defendant has been aware of the work that Plaintiff and
   the Collective Class Action Members have performed.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 62 of the Complaint.

    COMPLAINT ¶63:

          During the Collective and Class Action Periods, the primary job duties of Plaintiff and
   the Collective Class Action Members did not include firing, disciplining, or directing the work of
   other employees, or exercising meaningful independent judgment or discretion.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 63 of the Complaint.

    COMPLAINT ¶64:

          Upon information and belief, the primary job duties of Plaintiff and the Collective Class
   Action Members did not materially differ from the duties of Defendant’s non-exempt hourly paid
   employees, which included many duties that were manual and non-exempt in nature. The
   performance of manual labor and non-exempt duties occupied the majority of Plaintiff and the
   Collective Class Action Members’ working hours.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 64 of the Complaint.

    COMPLAINT ¶65:

         Upon information and belief, Plaintiff spent more than 50% of her time performing non-
   exempt tasks, this percentage increased on days when Plaintiff was required to fill in for hourly
   employees who were absent or unavailable. This was a common practice implemented by



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   Defendant to meet eleven percent (11%) labor costs. This practice was common for all similarly
   situated KSBMs, as they were required to meet eleven percent (11%) labor costs.1

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 65 of the Complaint.

       COMPLAINT ¶66:

          Upon information and belief, Plaintiff and the Collective and Class Action Members
   were required to work 65 hours per week, causing extreme stress upon KSBMs trying to balance
   budget requirements, and led KSBMs to an overall unpleasant work-life balance.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 66 of the Complaint.

       COMPLAINT ¶67:

           Defendant did not provide enough resources in the labor budgets for non-exempt
   employees to complete all the non-exempt tasks in each restaurant. Defendant knew, or
   recklessly disregarded, the fact that failing to provide sufficient resources in restaurant labor
   budgets resulted in Plaintiff and Collective and Class Action Members (who were not paid
   overtime) working more than 40 hours in a work week, and primarily performing manual and
   non-exempt duties during their workweeks, without receiving overtime compensation. This
   allowed Defendant to avoid paying additional wages (including overtime) to the nonexempt
   restaurant-level employees.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 67 of the Complaint.

       COMPLAINT ¶68:

           Upon information and belief, the Smokey Bones corporate office did not specify how the
   Plaintiff and the Collective and Class Action Members should reach eleven percent (11%) labor;
   their only orders were that KSBMs were required to meet the target level.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 68 of the Complaint.




   1
     “Typically, labor cost percentages average 20 to 35 percent of gross sales. Appropriate percentages vary by
   industry, [a] service business might have an employee percentage of 50 percent or more, but a manufacturer will
   usually need to keep the figure under 30 percent” Adkins, W. (2019). How to Calculate the Employee Labor
   Percentage. [online] Available at: https://smallbusiness.chron.com/calculate-employee-labor-percentage-
   15980.html [Accessed 6 Sep. 2019].

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    COMPLAINT ¶69:

          Because of the low labor budget requirement of eleven percent (11%), Plaintiff and the
   Collective and Class Action Members were regularly required by Defendant to finish preparation
   work that had not been finished by hourly employees, and/ or cook and or fry in place of hourly
   employees.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 69 of the Complaint.

    COMPLAINT ¶70:

           Upon Information and belief, Plaintiff and Collective and Class Action Members would
   regularly fill in for hourly employees if an hourly employee called out of work.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 70 of the Complaint.

    COMPLAINT ¶71:

           Upon information and belief, Plaintiff and the Collective and Class Action Members
   would regularly send production cooks and other non-exempt employees, who were hourly
   employees, home early in order to meet labor budgets. Plaintiff and the Collective and Class
   Action Members would regularly clock non-exempt workers out before their shifts ended in
   order to meet the eleven percent (11%) labor level required. As a result, Plaintiff and the
   Collective and Class Action Members regularly would step into production cooks’ roles.
   Plaintiff and the Collective and Class Action Members were then responsible for performing the
   job duties of the hourly worker that were clocked out. Plaintiff and the Collective and Class
   Action Members were expected to regularly close the kitchen by themselves. This policy was
   encouraged by upper level management.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 71 of the Complaint.

    COMPLAINT ¶72:

           Upon information and belief, all work was completed at the behest of, and according to,
   policies set by Smokey Bones, the District Manager or the Director of Operations, and General
   Manager, who oversaw the work performed.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 72 of the Complaint.




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    COMPLAINT ¶73:

          Plaintiff and the Collective and Class Action Members did not have the discretion to
   determine when to perform certain duties yet were required to complete said duties because of
   Defendant’s expectations.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 73 of the Complaint.

    COMPLAINT ¶74:

          Upon information and belief, Plaintiff was hired as a salaried Service Manager in April of
   2015, at a weekly salary of $1,115.38.

   ANSWER:

            Defendant admits that Plaintiff was hired as a salaried Service Manager in April 2015.

   Defendant denies the remaining allegations in Paragraph 74 of the Complaint.

    COMPLAINT ¶75:

           Upon information and belief, in October of 2016, Plaintiff was unofficially promoted to
   the Kitchen Manager position at the Peabody location when she was transferred from the
   Tyngsboro location, and was paid a weekly salary of approximately $1,211.54.

   ANSWER:

            Defendant denies the allegations in Paragraph 75 of the Complaint.

    COMPLAINT ¶76:

          Upon personal knowledge, Plaintiff worked on average 65 hours per week. Based upon a
   65-hour work week, Plaintiff’s regular rate of pay was approximately $18.64 per hour.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 76 of the Complaint.

    COMPLAINT ¶77:

           Upon information and belief, other hourly non-exempt employees at Smokey Bones, such
   as line cooks, were paid a similar regular rate of pay of approximately $16-18 an hour and were
   also eligible for overtime compensation at a rate of time and one-half of the regular rate of pay
   due, for approximately $24-27 per hour.




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   ANSWER:

            Defendant admits that hourly non-exempt employees were eligible for overtime

   compensation at a rate of time and one-half of their regular rate of pay. Defendant denies the

   remaining allegations in Paragraph 77 of the Complaint.

    COMPLAINT ¶78:

           Upon information and belief, Defendant acted willfully and knew, by virtue of the fact
   that their General Managers (as their authorized agents) actually saw Plaintiff and other similarly
   situated KSBMs regularly performed primarily manual labor and non-exempt duties, which was
   the result of the underfunded labor budgets. The underfunded labor budgets limited the amount
   of money available to pay non-exempt employees to perform such work.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 78 of the Complaint.

    COMPLAINT ¶79:

            Upon information and belief, Defendant knew that Plaintiff and other similarly situated
   employees were performing the work of non-exempt employees, based on their actual job duties
   which differed greatly from their job descriptions, Plaintiff and similarly situated employees did
   not fall under any exemptions under the FLSA and Massachusetts law.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 79 of the Complaint.

    COMPLAINT ¶80:

           As an experienced and practical business operating an estimated 66 restaurants
   throughout the country, Defendant knew, or recklessly disregarded, the fact that by underfunding
   the labor budgets for restaurant locations, Plaintiff and other similarly situated employees were
   primarily performing non-exempt duties and not performing activities that would suffice to make
   their actual job duties comply with any overtime exemption under the FLSA or Massachusetts
   law.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 80 of the Complaint.

    COMPLAINT ¶81:

           Defendant’s unlawful conduct, as described above, was willful, or in reckless disregard,
   of the applicable wage and hour laws pursuant to Defendant’s centralized, company- wide


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   policy, pattern, and practice of attempting to minimize labor costs by violating the FLSA and the
   overtime law of Massachusetts.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 81 of the Complaint.

    COMPLAINT ¶82:

           As part of its regular business practice, Defendant has intentionally, willfully, and
   repeatedly engaged in a policy, pattern and practice of violating the FLSA and Massachusetts
   law with respect to Plaintiff and the Collective Class Action Members and all other similarly
   situated KSBMs.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 82 of the Complaint.

    COMPLAINT ¶83:

           This policy, pattern and practice includes, but it is not limited to, Defendant’s knowledge
   of its obligations under the FLSA and Massachusetts law, and the nature of work that Plaintiff
   and the Collective and Class Action Members were and still are performing. As a result,
   Defendant has:

            a.     willfully misclassified Plaintiff and the Collective and Class Action Members as
                   exempt from the overtime requirements of the FLSA and Massachusetts law;

            b.     willfully failed to pay Plaintiff and the Collective and Class Action Members
                   overtime wages for hours they worked in excess of 40 hours per week; and

           c.      willfully failed to provide enough money in their restaurant-level labor budgets
   for Defendant’s non-exempt employees to perform their duties and responsibilities, thereby
   essentially forcing Defendant’s KSBMs to perform such non-exempt tasks & fill in for hourly
   employees.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 83 of the Complaint.

    COMPLAINT ¶84:

           Upon personal knowledge, Defendant’s willful violations of the FLSA and Massachusetts
   law are further demonstrated by the fact that throughout the Collective and Class Action Periods,
   and continuing to the present, Defendant has failed to maintain accurate and sufficient time
   records for Plaintiff and Collective Class Action Members. Defendant acted recklessly or in
   willful disregard of the FLSA and Massachusetts law by instituting a policy and/or practice that
   did not allow Plaintiff and the Collective and Class Action Members to record all hours worked.


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   ANSWER:

            Defendant denies the allegations set forth in Paragraph 84 of the Complaint.

       COMPLAINT ¶85:

          Due to the foregoing, Defendant’s failure to pay wages for work performed by Plaintiff
   and the Collective and Class Action Members in excess of 40 hours per work week was willful
   and has been widespread, repeated and consistent.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 85 of the Complaint.

       COMPLAINT ¶86:

           Upon information belief, Defendant knowingly and willingly improperly classified and/or
   failed to amend policies to comply with the law, to the extent that the Collective and Class
   Action Members were exempt from the overtime requirements of the FLSA, the Wage Act, and
   Massachusetts common law.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 86 of the Complaint.

       COMPLAINT ¶87:

           Upon information and belief, Plaintiff and the Collective and Class Action Members
   allege that Smokey Bones has a history of violating the FLSA.2

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 87 of the Complaint.

       COMPLAINT ¶88:

           Upon information and belief, Defendant became aware of the KSBMs violations during
   the auditing process of their prior FLSA lawsuit. Defendant discovered during their litigation in
   Hart v. Barbeque Integrated, Inc., that the Defendant remained liable for all overtime violations
   pertaining to KSBMs, as they were and still are currently misclassified.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 88 of the Complaint.




   2
     In Hart v. Barbeque Integrated, Inc., an hourly restaurant employee alleged that, Smokey Bones took advantage of
   the FLSA’s tip credit provision. Hart v. Barbeque Integrated, Inc., 299 F. Supp. 3d 762, 771 (D.S.C. 2017)

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    COMPLAINT ¶89:

           Upon information and belief, arbitration agreements were issued by the Defendant in
   their employment contracts, around the timeframe of Defendant’s settlement in Hart, around the
   Fall of 2018. The arbitration agreements were required to be signed by newly employed KSBMs
   and those KSBMs who were currently working for the Defendant at that time. The KSBMs were
   all required to sign the arbitration agreements as a condition of keeping their employment.

   ANSWER:

            Defendant admits that, on or around January 30, 2019, Defendant began requiring each

   employee, including each Kitchen Manager, Service Manager, and Bar Manager, to sign an

   arbitration agreement as a condition of employment. Defendant denies the remaining allegations

   in Paragraph 89 of the Complaint.

    COMPLAINT ¶90:

           Upon information and belief, Plaintiff and the Collective and Class Action Members
   allege that the arbitration agreements issued by the Defendant were done in bad faith and are
   voided by Massachusetts contract law or any other applicable state’s contract laws.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 90 of the Complaint.

    COMPLAINT ¶91:

           Upon information and belief, Defendant, specifically: Ryan J. Esko, the former CEO
   (“Esko”) of Smokey Bones until January of 2019, and Nicole Milnthorpe the CFO
   (“Milnthorpe”) of Smokey Bones, are both currently aware, or have been previously made
   aware, that all KSBMs nationwide are being willfully misclassified, and Defendant is therefore
   intentionally violating Federal and Massachusetts state laws by failing to correctly classify all
   KSBM as non-exempt employees.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 91 of the Complaint.

    COMPLAINT ¶92:

           Upon information and belief, the Esko and Milnthorpe both have first-hand knowledge of
   the current and past misclassifications of all KSBM, and have knowingly and willfully aided and
   abetted Smokey Bones violations of the FLSA, 26 U.S.C. § 7434, the Wage Act, and relevant
   Massachusetts contract and common laws.



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   ANSWER:

            Defendant denies the allegations set forth in Paragraph 92 of the Complaint.

    COMPLAINT ¶93:

            Upon information and belief, Esko and Milnthorpe were made aware of the
   misclassification of all KSBMs prior the Fall of 2018, or became fully aware of Defendant’s
   illegal practices around the Fall of 2018 during the course of their litigation in Hart, and yet still
   decided against compensating current and former employees and correcting policies to comply
   with the law, all in an attempt to reduce Defendant’s liability and to defraud their current and
   former KSBMs.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 93 of the Complaint.

                          FLSA COLLECTIVE ACTION ALLEGATIONS

    COMPLAINT ¶94:

          Plaintiff, on behalf of herself and all FLSA Collective Action Members, re-allege and
   incorporate by reference paragraphs 1 through 93, as if they were set forth again herein.

   ANSWER:

            Defendant incorporates its answers to paragraphs 1 through 93 as if fully stated herein.

   Defendant denies the remaining allegations in Paragraph 93 of the complaint.

    COMPLAINT ¶95:

           Pursuant to 29 U.S.C. §§ 207 and 216(b), Plaintiff seeks to prosecute her FLSA claims as
   a collective action on behalf of all persons who are, or were formerly, employed by Defendant as
   KSBMs during the FLSA Collective Action Period, and who worked more than forty (40) hours
   a week for Defendant in the United States.

   ANSWER:

            Defendant admits that Plaintiff purported to seek to bring a collective action under the

   FLSA. Defendant denies that a collective action in appropriate and denies any remaining

   allegations in Paragraph 95 of the Complaint.

    COMPLAINT ¶96:

          Defendant is liable under the FLSA for, inter alia, failing to pay premium overtime
   wages to Plaintiff and other similarly situated employees.

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   ANSWER:

            Defendant denies the allegations set forth in Paragraph 96 of the Complaint.

    COMPLAINT ¶97:

          Upon information and belief, there are at least a few hundred similarly situated current
   and former KSBMs who have not been paid premium overtime wages in violation of the FLSA,
   and who would benefit from the issuance of a court-supervised notice of this lawsuit and the
   opportunity to join. Thus, notice should be sent to the FLSA Collective Action Members
   pursuant to 29 U.S.C. § 216(b).

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 97 of the Complaint.

    COMPLAINT ¶98:

           The similarly situated employees are known to Defendant, are readily identifiable, and
   can be located through Defendant’s records.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 98 of the Complaint.

    COMPLAINT ¶99:

           Attached hereto as Exhibit “C”, are Smokey Bones Bar Managers, Kitchen Managers,
   and Service Managers “reviews” from the workplace review websites, “Indeed.com“ and
   “Glassdoor.com“, by former KSBMs, which further support Plaintiff and the Collective and
   Class Action Members’ position that the primary duty of KSBMs was not management, and that
   due to extremely low labor budgets, Plaintiff and the Collective and Class Action Member’s
   primary duty was filling in for hourly employees that were sent home in order to meet labor
   budgets.

   ANSWER:

            Defendant lacks knowledge or information sufficient to form a belief about the truth of

   Plaintiff’s allegation that Exhibit C contains “Smokey Bones Bar Managers, Kitchen Managers,

   and Service Managers ‘reviews’ from workplace review websites.” Defendant denies the

   remaining allegations in Paragraph 99 of the Complaint.




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                                  FIRST CAUSE OF ACTION:
                    (FAIR LABOR STANDARDS ACT: UNPAID OVERTIME
                                             WAGES)
                   (Brought on Behalf of Plaintiff and All FLSA Collective Action
                                             Members)

    COMPLAINT ¶100:

          Plaintiff, on behalf of herself and all FLSA Collective Action Members, re-allege and
   incorporate by reference paragraphs 1 through 99, as if they were set forth again herein.

   ANSWER:

            Defendant incorporates its answers to paragraphs 1 through 99 as if fully stated herein.

   Defendant denies the remaining allegations in Paragraph 100 of the complaint.

    COMPLAINT ¶101:

           At all relevant times, Defendant has been, and continues to be, an employer engaged in
   interstate commerce or the production of goods for commerce, within the meaning of the FLSA,
   29 U.S.C. §§ 206(a) and 207(a).

   ANSWER:

            The allegations in Paragraph 101 state legal conclusions to which no answer is required.

    COMPLAINT ¶102:

          At all relevant times, Defendant employed Plaintiff, and employed or continue to employ,
   each of the FLSA Collective Action Members within the meaning of the FLSA.

   ANSWER:

            The allegations in Paragraph 102 state legal conclusions to which no answer is required.

    COMPLAINT ¶103:

          Defendant has engaged in a widespread pattern and practice of violating the FLSA, as
   described in this Complaint.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 103 of the Complaint.

    COMPLAINT ¶104:

            The overtime wage provisions set forth in 29 U.S.C. §§ 201, et seq., apply to Defendant.


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   ANSWER:

            The allegations in Paragraph 104 state legal conclusions to which no answer is required.

    COMPLAINT ¶105:

           At all relevant times and continuing to the present, Defendant has had a policy and
   practice of refusing to pay premium overtime compensation to their KSBMs and similarly
   situated employees in comparable positions but holding different titles, for hours worked in
   excess of 40 hours per work week.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 105 of the Complaint.

    COMPLAINT ¶106:

           As a result of Defendant’s’ willful failure to compensate its employees, including
   Plaintiff and the FLSA Collective Action Members, at a rate not less than time and one-half of
   the regular rate of pay for work performed in excess of forty (40) hours in a work week,
   Defendant has violated and, continue to violate, the FLSA, 29 U.S.C. § 201, et seq., including 29
   U.S.C. § 207(a)(1) and § 215(a).

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 106 of the Complaint.

    COMPLAINT ¶107:

          As a result of Defendant’s willful failure to record, report, credit, and compensate its
   employees, including Plaintiff and the FLSA Collective Action Members, Defendant failed to
   make, keep, and preserve records with respect to each of its employees sufficient to determine
   the wages, hours and other conditions and practices of employment in violation of the FLSA,
   29U.S.C. § 201, et seq., including 29 U.S.C. § 211(c) and § 215(a).

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 107 of the Complaint.

    COMPLAINT ¶108:

           Upon information and belief, in order to save on labor costs, KSBMs are often required
   to perform the duties of hourly workers. Upon information and belief, all Smokey Bones
   locations take advantage of having KSBMs perform tasks generally assigned to hourly
   employees and also require KSBMs to “fill in” for hourly employees when they are unavailable
   for work, or were clocked out or sent home.




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   ANSWER:

            Defendant denies the allegations set forth in Paragraph 108 of the Complaint.

    COMPLAINT ¶109:

           As a result of Defendant’s policy and practice of minimizing labor costs by underfunding
   labor budgets for their restaurants, Defendant knew, or recklessly disregarded, the fact that
   Plaintiff and the FLSA Collective Action Members were primarily performing manual labor and
   non-exempt tasks.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 109 of the Complaint.

    COMPLAINT ¶110:

           Due to Defendant’s (a) failure to provide enough labor budget funds; (b) failure to take
   into account the impact of the underfunded labor budgets on the job duties of Plaintiff and the
   FLSA Collective Action Members; (c) actual knowledge that the primary duties of Plaintiff and
   the FLSA Collective Action Members were manual labor and other non-exempt tasks; (d) failure
   to perform a person-by-person analysis of Plaintiff’s and the FLSA Collective Action Members’
   job duties to ensure that they were performing primarily exempt job duties, and; (e) policy and
   practice that did not allow Plaintiffs and FLSA Collective Action Members to record all hours
   worked, Defendant knew, and/or showed reckless disregard, that its conduct was prohibited by
   the FLSA.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 110 of the Complaint.

    COMPLAINT ¶111:

           As a result of Defendant’s FLSA violations, Plaintiff, on behalf of her and the FLSA
   Collective Action Members, are entitled to (a) recover from Defendant unpaid wages for all of
   the hours worked, as premium overtime compensation; (b) recover an additional, equal amount
   as liquidated damages for Defendant’s willful violations of the FLSA; and, (c) pursuant to 29
   U.S.C. § 216(b), recover unreasonably delayed payment of wages, reasonable attorneys’ fees,
   and costs and disbursements of this action.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 111 of the Complaint.

    COMPLAINT ¶112:

           Defendant’s violations of the FLSA have been willful, thus a three-year statute of
   limitations applies, pursuant to 29 U.S.C. § 255(a).


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   ANSWER:

            Defendant denies the allegations set forth in Paragraph 112 of the Complaint.

                         26 U.S.C. § 7434 CLASS ACTION ALLEGATIONS

    COMPLAINT ¶113:

          Plaintiff, on behalf of herself and all § 7434 Class Action Members, re-allege and
   incorporate by reference paragraphs 1 through 112, as if they were set forth again herein.

   ANSWER:

            Defendant incorporates its answers to paragraphs 1 through 112 as if fully stated herein.

   Defendant denies the remaining allegations in Paragraph 112 of the complaint.

    COMPLAINT ¶114:

           Plaintiff seeks to prosecute her 26 U.S.C. § 7434 claim as a Rule 23 class action on
   behalf of all persons who are, or were formerly, employed by Defendant as KSBMs during the
   §7434 Class Action Period, and who worked more than forty (40) hours a week for Defendant in
   the United States. Plaintiff also alleges on behalf of her and all current and former employees
   who work or have worked at any Smokey Bones restaurant, nationwide as KSBMs and other
   employees holding comparable positions with different titles employed by Defendant in the
   United States and who elect to opt out of this action under Fed. R. Civ. P. 23, for violations of 26
   U.S.C. § 7434. (hereinafter the “§ 7434 Class Action” or “§ 7434 Class Action Members”).

   ANSWER:

            The Court has dismissed Plaintiff’s 26 U.S.C. § 7434 claim. Thus, a response to

   Paragraph 114 of the Complaint is moot and not required. To the extent a response is deemed

   necessary, Defendant denies the allegations contained in Paragraph 114 of the Complaint.

    COMPLAINT ¶115:

           Defendant is liable under 26 U.S.C. § 7434 for, inter alia, willfully filing fraudulent
   information returns for the tax years filed within six years from the date of this filing, with
   respect to payment purported to be made to Plaintiff and other similarly situated employees.

   ANSWER:

            The Court has dismissed Plaintiff’s 26 U.S.C. § 7434 claim. Thus, a response to

   Paragraph 115 of the Complaint is moot and not required. To the extent a response is deemed

   necessary, Defendant denies the allegations contained in Paragraph 115 of the Complaint.

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    COMPLAINT ¶116:

          Upon information and belief, there are at least a few hundred similarly situated current
   and former KSBMs who have had their IRS Form W-2’s willfully underreported by Defendant,
   and who would benefit from the issuance of a court-supervised notice of this lawsuit and the
   opportunity to join. Thus, notice should be sent to the § 7434 Class Action Members pursuant to
   Rule 23.

   ANSWER:

            The Court has dismissed Plaintiff’s 26 U.S.C. § 7434 claim. Thus, a response to

   Paragraph 116 of the Complaint is moot and not required. To the extent a response is deemed

   necessary, Defendant denies the allegations contained in Paragraph 116 of the Complaint.

    COMPLAINT ¶117:

           The similarly situated employees are known to Defendant, are readily identifiable, and
   can be located through Defendant’s’ records.

   ANSWER:

            The Court has dismissed Plaintiff’s 26 U.S.C. § 7434 claim. Thus, a response to

   Paragraph 117 of the Complaint is moot and not required. To the extent a response is deemed

   necessary, Defendant denies the allegations contained in Paragraph 117 of the Complaint.

                                 SECOND CAUSE OF ACTION:
                                        (26 U.S.C. § 7434)
                        (Brought under Rule 23 on Behalf of Plaintiff and All
                                  § 7434 Class Action Members)

    COMPLAINT ¶118:

          Plaintiff, on behalf of herself and all § 7434 Class Action Members, re-allege and
   incorporate by reference paragraphs 1 through 117, as if they were set forth again herein.

   ANSWER:

            Defendant incorporates its answers to paragraphs 1 through 117 as if fully stated herein.

   Defendant denies the remaining allegations in Paragraph 117 of the complaint.

    COMPLAINT ¶119:

           Upon information and belief, Defendant became aware of the classification violations of
   all similarly situated KSBMs prior to the Fall of 2018, and instead of amending their policies,

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   Defendant willfully directed a subordinate or their CFO Milnthorpe, or Milnthorpe acted on her
   own accord, to improperly file employees Plaintiff and the § 7434 Class Action Members’ Form
   W-2s with both the Internal Revenue Service (“IRS”) and all state authorities during the same
   time and place every year for the tax years commencing six (6) years from the date of the filing
   of this Complaint.

   ANSWER:

            The Court has dismissed Plaintiff’s 26 U.S.C. § 7434 claim. Thus, a response to

   Paragraph 119 of the Complaint is moot and not required. To the extent a response is deemed

   necessary, Defendant denies the allegations contained in Paragraph 119 of the Complaint.

       COMPLAINT ¶120:

          The Defendant willfully and intentionally under reported Plaintiff and the § 7434 Class
   Action Member’s income on their IRS Form W-2s.3

   ANSWER:

            The Court has dismissed Plaintiff’s 26 U.S.C. § 7434 claim. Thus, a response to

   Paragraph 120 of the Complaint is moot and not required. To the extent a response is deemed

   necessary, Defendant denies the allegations contained in Paragraph 120 of the Complaint.

       COMPLAINT ¶121:

          Defendant’s actions were willful and intentional, as they knew Plaintiff and the §7434
   Class Action Members regularly worked sixty-five (65) hours per week, were not exempt from
   overtime, and therefore under-reported due wages for all hours Plaintiff worked over forty (40)
   per week.

   ANSWER:

            The Court has dismissed Plaintiff’s 26 U.S.C. § 7434 claim. Thus, a response to

   Paragraph 120 of the Complaint is moot and not required. To the extent a response is deemed

   necessary, Defendant denies the allegations contained in Paragraph 120 of the Complaint.




   3
    “If any person willfully files a fraudulent information return with respect to payment purported to be made to any
   other person, such other person may bring a civil action for damages against the person so filing such return”.
   26 U.S.C. § 7434

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       COMPLAINT ¶122:

          Defendant willfully misrepresented the amount of wages Plaintiff and the § 7434 Class
   Action Members earned on their IRS Form W-2s during the tax years commencing six years
   from the date of filing, by underreporting wages.4

   ANSWER:

              The Court has dismissed Plaintiff’s 26 U.S.C. § 7434 claim. Thus, a response to

   Paragraph 122 of the Complaint is moot and not required. To the extent a response is deemed

   necessary, Defendant denies the allegations contained in Paragraph 122 of the Complaint.

       COMPLAINT ¶123:

           Upon information and belief, Defendant under reported wages to lower the employer
   portion of the FICA, FUTA, and other federal and state income taxes on paychecks issued to
   Plaintiff and the § 7434 Class Action Members during the tax years commencing six years from
   the date of filing.

   ANSWER:

              The Court has dismissed Plaintiff’s 26 U.S.C. § 7434 claim. Thus, a response to

   Paragraph 123 of the Complaint is moot and not required. To the extent a response is deemed

   necessary, Defendant denies the allegations contained in Paragraph 123 of the Complaint.

       COMPLAINT ¶124:

         Defendant willfully reported a lower wage amount to the IRS than the Plaintiff and the §
   7434 Class Action Members earned on their pay stubs and IRS Form W-2s.

   ANSWER:

              The Court has dismissed Plaintiff’s 26 U.S.C. § 7434 claim. Thus, a response to

   Paragraph 124 of the Complaint is moot and not required. To the extent a response is deemed

   necessary, Defendant denies the allegations contained in Paragraph 124 of the Complaint.




   4
       An information return includes the IRS Form W-2. See 26 U.S.C. §§ 6724(d)(1)(A)(vii).

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       COMPLAINT ¶125:

          Defendant willfully filed a fraudulent IRS Form W-2s with respect to payments purported
   to be made to all similarly situated KSBMs when Defendant filed their yearly tax return
   information for their employees, for a six-year period commencing from the date of this filing.

   ANSWER:

            The Court has dismissed Plaintiff’s 26 U.S.C. § 7434 claim. Thus, a response to

   Paragraph 125 of the Complaint is moot and not required. To the extent a response is deemed

   necessary, Defendant denies the allegations contained in Paragraph 125 of the Complaint.

       COMPLAINT ¶126:

           Based on Defendant’s intent to deceive both the IRS and all similarly situated KSBMs by
   willfully and fraudulently filing Plaintiff and the § 7434 Class Action Members’ IRS Form W-
   2s, they are liable to Plaintiff and the § 7434 Class Action Members in an amount equal to the
   greater of $5,000 or the sum of any actual damages sustained by Plaintiff and the § 7434 Class
   Action Members’ as a result of such filing, the costs of this action, and reasonable attorneys’
   fees.5

   ANSWER:

            The Court has dismissed Plaintiff’s 26 U.S.C. § 7434 claim. Thus, a response to

   Paragraph 126 of the Complaint is moot and not required. To the extent a response is deemed

   necessary, Defendant denies the allegations contained in Paragraph 126 of the Complaint.

                          MASSACHUSETTS CLASS ACTION ALLEGATIONS

       COMPLAINT ¶127:

          Plaintiff, on behalf of herself and all Massachusetts Class Action Members, re-allege and
   incorporate by reference paragraphs 1 through 126, as if they were set forth again herein.

   ANSWER:

            Defendant incorporates its answers to paragraphs 1 through 126 as if fully stated herein.

   Defendant denies the remaining allegations in Paragraph 127 of the complaint.




   5
     Pursuant to subsection (a), Plaintiff has mailed a copy of this complaint to the IRS, on the date of filing of this
   action, September 30, 2019. 26 U.S.C. § 7434(d).

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       COMPLAINT ¶128:

         Pursuant to Fed. R. Civ. P. 23, Plaintiff seeks to prosecute her claims under
   Massachusetts common law.6

   ANSWER:

            The Court has dismissed Plaintiff’s breach of contract and other Massachusetts common

   law claims. Thus, a response to Paragraph 128 of the Complaint is moot and not required. To

   the extent a response is deemed necessary, Defendant admits that Plaintiff sought to prosecute

   claims under Massachusetts common law. Defendant denies the remaining allegations contained

   in Paragraph 128 of the Complaint.

       COMPLAINT ¶129:

          Plaintiff also alleges on behalf of her and all current and former employees who work or
   have worked at any Smokey Bones restaurant in Massachusetts as KSBMs, and other employees
   holding comparable positions with different titles, employed by Defendant in Massachusetts, and
   who elect to opt out of this action under Fed. R. Civ. P. 237

   ANSWER:

            The Court has dismissed Plaintiff’s breach of contract and other Massachusetts common

   law claims. Thus, a response to Paragraph 129 of the Complaint is moot and not required. To

   the extent a response is deemed necessary, Defendant denies the allegations contained in

   Paragraph 129 of the Complaint.

       COMPLAINT ¶130:

          Massachusetts Class Action Members consist of KSBMs employed by Smokey Bones
   from September 30, 2013- September 29, 2016 (hereinafter the “Massachusetts Class Period”).8


   6
     In Lipsitt v. Plaud, the Massachusetts Supreme Judicial Court, “[struck] a balance between the Legislature’s intent
   behind the Wage Act that employees receive timely payment of wages . . . and the Legislature’s intent to draw a
   nominal distinction between overtime wages and regular wages by establishing different statute of limitations
   periods. Lipsitt v. Plaud, 466 Mass. (2013).
   7
     The 1st Circuit held that the Wage Act did not displace common law claims either explicitly or implicitly.
   Manning v. Boston Med. Ctr. Corp. 725 F.3d (1st Cir. 2013).
   8
     Plaintiff and the Massachusetts Class Action Members contend that Massachusetts Class Action Period does not
   overlap with the FLSA Collective Action Period, and therefore “[i]t does not upset this balance to continue to
   subject employers to normal contract liability for the full six-year statute of limitations period applicable to contracts
   generally.” Lipsitt v. Plaud, 466 Mass. (2013).

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   ANSWER:

            The Court has dismissed Plaintiff’s breach of contract and other Massachusetts common

   law claims. Thus, a response to Paragraph 130 of the Complaint is moot and not required. To

   the extent a response is deemed necessary, Defendant denies the allegations contained in

   Paragraph 130 of the Complaint.

    COMPLAINT ¶131:

          Defendant violated Massachusetts law by failing to properly pay wages to Plaintiff and
   other Class Members for all hours in which they worked over forty (40) in each workweek.

   ANSWER:

            The Court has dismissed Plaintiff’s breach of contract and other Massachusetts common

   law claims. Thus, a response to Paragraph 131 of the Complaint is moot and not required. To

   the extent a response is deemed necessary, Defendant denies the allegations contained in

   Paragraph 131 of the Complaint.

    COMPLAINT ¶132:

           Members of the Class are similarly situated because they all perform the same basic
   duties and assignments and are all subject to Defendant’s common policy and practice
   implemented throughout Massachusetts.

   ANSWER:

            The Court has dismissed Plaintiff’s breach of contract and other Massachusetts common

   law claims. Thus, a response to Paragraph 132 of the Complaint is moot and not required. To

   the extent a response is deemed necessary, Defendant denies the allegations contained in

   Paragraph 132 of the Complaint.

    COMPLAINT ¶133:

           The Class is so numerous that joinder of all members is impracticable. Although the
   precise number of such persons is unknown, these similarly situated employees are known to
   Defendant, are readily identifiable, and can be located through Defendant’s records.




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   ANSWER:

            The Court has dismissed Plaintiff’s breach of contract and other Massachusetts common

   law claims. Thus, a response to Paragraph 133 of the Complaint is moot and not required. To

   the extent a response is deemed necessary, Defendant denies the allegations contained in

   Paragraph 133 of the Complaint.

    COMPLAINT ¶134:

           Upon information and belief, due to the high turnover rate at Smokey Bones, there are at
   least dozens of members of the Class who worked as salaried KSBMs’ in Massachusetts Smokey
   Bones locations from September 30, 2013 through September 29, 2016.

   ANSWER:

            The Court has dismissed Plaintiff’s breach of contract and other Massachusetts common

   law claims. Thus, a response to Paragraph 134 of the Complaint is moot and not required. To

   the extent a response is deemed necessary, Defendant denies the allegations contained in

   Paragraph 134 of the Complaint.

    COMPLAINT ¶135:

          Members of the Class are easily ascertainable from Defendant’s own employment
   records.

   ANSWER:

            The Court has dismissed Plaintiff’s breach of contract and other Massachusetts common

   law claims. Thus, a response to Paragraph 135 of the Complaint is moot and not required. To

   the extent a response is deemed necessary, Defendant denies the allegations contained in

   Paragraph 135 of the Complaint.

    COMPLAINT ¶136:

          Plaintiff’s claims are typical of the claims of the members of the Class. Plaintiff has the
   same interests in this matter as all other members of the Class.




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   ANSWER:

            The Court has dismissed Plaintiff’s breach of contract and other Massachusetts common

   law claims. Thus, a response to Paragraph 135 of the Complaint is moot and not required. To

   the extent a response is deemed necessary, Defendant denies the allegations contained in

   Paragraph 135 of the Complaint.

    COMPLAINT ¶137:

           Plaintiff is an adequate class representative, is committed to pursuing this action, and has
   retained competent counsel.

   ANSWER:

            The Court has dismissed Plaintiff’s breach of contract and other Massachusetts common

   law claims. Thus, a response to Paragraph 137 of the Complaint is moot and not required. To

   the extent a response is deemed necessary, Defendant denies the allegations contained in

   Paragraph 137 of the Complaint.

    COMPLAINT ¶138:

           Class certification of Plaintiff’s Massachusetts claims is appropriate pursuant to Fed. R.
   Civ. P. 23, because Defendant has acted or refused to act on grounds generally applicable to the
   Class, making declaratory and injunctive relief appropriate with respect to the Class as a whole.
   Members of the Class are entitled to injunctive relief to end Defendant’s common and uniform
   policy and practice of denying the Class the wages to which they are entitled.

   ANSWER:

            The Court has dismissed Plaintiff’s breach of contract and other Massachusetts common

   law claims. Thus, a response to Paragraph 138 of the Complaint is moot and not required. To

   the extent a response is deemed necessary, Defendant denies the allegations contained in

   Paragraph 138 of the Complaint.

    COMPLAINT ¶139:

            Plaintiff knows of no difficulty that would be encountered in the management of this
   litigation that would preclude its maintenance as a class action.



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   ANSWER:

            The Court has dismissed Plaintiff’s breach of contract and other Massachusetts common

   law claims. Thus, a response to Paragraph 139 of the Complaint is moot and not required. To

   the extent a response is deemed necessary, Defendant denies the allegations contained in

   Paragraph 139 of the Complaint.

       COMPLAINT ¶140:

           Class certification of Plaintiff’s Massachusetts claims is also appropriate under Fed. R.
   Civ. P. 23, because questions of law and fact common to the Class predominate over questions
   affecting only individual members of the Class and because a class action is superior to other
   available methods for the fair and efficient adjudication of this litigation.9

   ANSWER:

            The Court has dismissed Plaintiff’s breach of contract and other Massachusetts common

   law claims. Thus, a response to Paragraph 140 of the Complaint is moot and not required. To

   the extent a response is deemed necessary, Defendant denies the allegations contained in

   Paragraph 140 of the Complaint.

                                          THIRD CAUSE OF ACTION:

                     (Breach of contract, and Massachusetts common law) (Brought
                     under Fed. R. Civ. P. 23 on Behalf of Plaintiff and all
                     Massachusetts Class Action Members who were employed by
                     the Defendant in the Commonwealth of Massachusetts during
                     the Massachusetts Class Action Period)




   9
     The critical question of law and fact common to Plaintiff and the Class that will materially advance the litigation is
   whether Defendant is required by Massachusetts law to pay Plaintiff and the Class at its regular hourly rate for hours
   worked in excess of forty (40) hours per workweek, and for other Massachusetts common law violations. Other
   questions of law and fact common to the Plaintiff and the Class that will materially advance the litigation include,
   without limitation: a. What proof of hours worked is sufficient when the employer fails in its duty to maintain time
   records; b. Whether Defendant failed and refused to pay Plaintiff and members of the Class their wages within six
   days of the termination of the pay period during which the wages were earned; c. Whether Defendant failed to pay
   Plaintiff and members of the Class the legally required amount of compensation for hours worked in excess of forty
   (40) hours per workweek, in violation of Massachusetts law; d. Whether Defendant are liable for all damages
   claimed by Plaintiff and the Class, including, without limitation, compensatory, punitive, and statutory damages,
   interest, costs and disbursements, and attorneys’ fees; and e. Whether Defendant should be enjoined from continuing
   to violate Massachusetts law in the future.

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                                                 COUNT I

                           Breach of Contract: Failure to Pay Earned Wages

    COMPLAINT ¶141:

            Plaintiff realleges the above paragraphs 1-140 as if fully restated herein.

   ANSWER:

            Defendant incorporates its answers to paragraphs 1-140 as if fully stated herein.



    COMPLAINT ¶142:

           Upon information and belief, as a condition for her employment as a salaried employee
   for the Defendant, Plaintiff and all the Massachusetts Class Action Members were required to
   and did sign an employment contract upon their hiring.

   ANSWER:

            The Court has dismissed Plaintiff’s breach of contract claim. Thus, a response to

   Paragraph 142 of the Complaint is moot and not required. To the extent a response is deemed

   necessary, Defendant denies the allegations contained in Paragraph 142 of the Complaint.

    COMPLAINT ¶143:

           Upon information and belief, Plaintiff alleges that upon her start date in April of 2015,
   Plaintiff and Defendant mutually agreed that Plaintiff would work as a salaried Service Manager
   at the Tyngsboro, MA Smokey Bones location, and that it was agreed that Plaintiff be paid
   approximately $58,000.00 per year.

   ANSWER:

            The Court has dismissed Plaintiff’s breach of contract claim. Thus, a response to

   Paragraph 143 of the Complaint is moot and not required. To the extent a response is deemed

   necessary, Defendant admits that Plaintiff’s start date was in April 2015 and that Plaintiff and

   Defendant mutually agreed that Plaintiff would work as a salaried employee at the Smokey

   Bones in Tyngsboro, MA. Defendant denies the remaining allegations contained in Paragraph

   143 of the Complaint.


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    COMPLAINT ¶144:

           Defendant is liable to Plaintiff and the Massachusetts Class Action Members for breach
   of their employment contracts, by failing to pay regular wages for all hours worked over 40 per
   week.

   ANSWER:

            The Court has dismissed Plaintiff’s breach of contract claim. Thus, a response to

   Paragraph 144 of the Complaint is moot and not required. To the extent a response is deemed

   necessary, Defendant denies the allegations contained in Paragraph 144 of the Complaint.

    COMPLAINT ¶145:

           As a direct and proximate cause of Defendant’s breach of contract by failing to pay the
   Plaintiff and the Massachusetts Class Action Members regular wages for hours worked over 40
   per week as required by Massachusetts law, whose claims are not preempted by this Court’s
   rulings, have suffered damages.

   ANSWER:

            The Court has dismissed Plaintiff’s breach of contract claim. Thus, a response to

   Paragraph 145 of the Complaint is moot and not required. To the extent a response is deemed

   necessary, Defendant denies the allegations contained in Paragraph 145 of the Complaint.

                                                COUNT II

                                  Quantum Meruit/Unjust Enrichment

    COMPLAINT ¶146:

            Plaintiff realleges the above paragraphs 1-145 as if fully restated herein.

   ANSWER:

            Defendant incorporates its answers to paragraphs 1-145 as if fully stated herein.

    COMPLAINT ¶147:

         Defendant is liable to Plaintiff and the Massachusetts Class Action Members based on
   quantum meruit.




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   ANSWER:

            The Court has dismissed Plaintiff’s quantum meruit/unjust enrichment claim. Thus, a

   response to Paragraph 147 of the Complaint is moot and not required. To the extent a response

   is deemed necessary, Defendant denies the allegations contained in Paragraph 147 of the

   Complaint.

    COMPLAINT ¶148:

         As a direct and proximate cause of Defendant’s failure to pay Plaintiff and the
   Massachusetts Class Action Members the reasonable value of their services, including
   Defendant’s failure to act in good faith, Plaintiff and the Massachusetts Class Action Members,
   whose claims are not preempted by this Court’s rulings, have suffered damages.

   ANSWER:

            The Court has dismissed Plaintiff’s quantum meruit/unjust enrichment claim. Thus, a

   response to Paragraph 148 of the Complaint is moot and not required. To the extent a response

   is deemed necessary, Defendant denies the allegations contained in Paragraph 148 of the

   Complaint.

                                                COUNT III

                                                   Fraud

    COMPLAINT ¶149:

            Plaintiff realleges the above paragraphs 1-148 as if fully restated herein.

   ANSWER:

            Defendant incorporates its answers to paragraphs 1-148 as if fully stated herein.

    COMPLAINT ¶150:

            Defendant is liable to Plaintiffs and the Massachusetts Class Action Members for fraud.




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   ANSWER:

            The Court has dismissed Plaintiff’s fraud claim. Thus, a response to Paragraph 150 of

   the Complaint is moot and not required. To the extent a response is deemed necessary,

   Defendant denies the allegations contained in Paragraph 150 of the Complaint.

    COMPLAINT ¶151:

            Upon information and belief, Defendant became aware of the KSBMs misclassification
   violations during the auditing process of their prior FLSA lawsuit which settled in the Fall of
   2018. Defendant discovered during their litigation in Hart v. Barbeque Integrated, Inc., that the
   Defendant remained liable for all overtime violations pertaining to KSBMs, as they were and
   still are currently misclassified.

   ANSWER:

            The Court has dismissed Plaintiff’s fraud claim. Thus, a response to Paragraph 150 of

   the Complaint is moot and not required. To the extent a response is deemed necessary,

   Defendant denies the allegations contained in Paragraph 150 of the Complaint.

    COMPLAINT ¶152:

           Upon information and belief, Defendant, specifically: Ryan J. Esko, the former CEO
   (“Esko”) of Smokey Bones until January of 2019, and Nicole Milnthorpe the CFO
   (“Milnthorpe”) of Smokey Bones, are both currently aware, or have been previously made
   aware, that all KSBMs nationwide are being willfully misclassified, and are therefore
   intentionally violating Federal and Massachusetts state laws by failing to correctly classify all
   KSBM as non-exempt employees.

   ANSWER:

            The Court has dismissed Plaintiff’s fraud claim. Thus, a response to Paragraph 152 of

   the Complaint is moot and not required. To the extent a response is deemed necessary,

   Defendant denies the allegations contained in Paragraph 152 of the Complaint.

    COMPLAINT ¶153:

           Upon information and belief, Esko and Milnthorpe, both have first-hand knowledge of
   the current and past misclassifications of all KSBMs.




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   ANSWER:

            The Court has dismissed Plaintiff’s fraud claim. Thus, a response to Paragraph 153 of

   the Complaint is moot and not required. To the extent a response is deemed necessary,

   Defendant denies the allegations contained in Paragraph 153 of the Complaint.

    COMPLAINT ¶154:

           Upon information and belief, Esko and Milnthorpe are were made aware of the illegal
   practices, and yet decided against compensating current and former employees and correcting
   policies to comply with the law, to reduce Defendant’s liability and to defraud current and
   former KSBMs.

   ANSWER:

            The Court has dismissed Plaintiff’s fraud claim. Thus, a response to Paragraph 154 of

   the Complaint is moot and not required. To the extent a response is deemed necessary,

   Defendant denies the allegations contained in Paragraph 154 of the Complaint.

    COMPLAINT ¶155:

           Upon information and belief, Defendant willfully misclassified Plaintiff and the
   Massachusetts Class Action Members as exempt employees, when in fact Defendant was aware
   that the Plaintiff and the Massachusetts Class Action Members were required to be paid at their
   regular hourly rate for any hours worked over forty per work week.

   ANSWER:

            The Court has dismissed Plaintiff’s fraud claim. Thus, a response to Paragraph 155 of

   the Complaint is moot and not required. To the extent a response is deemed necessary,

   Defendant denies the allegations contained in Paragraph 155 of the Complaint.

    COMPLAINT ¶156:

           Upon information and belief, the Defendant acted in bad faith, and according to its own
   self-interests, and fraudulently withheld wages due under the Plaintiff and Massachusetts Class
   Action Members employment agreements.




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   ANSWER:

            The Court has dismissed Plaintiff’s fraud claim. Thus, a response to Paragraph 156 of

   the Complaint is moot and not required. To the extent a response is deemed necessary,

   Defendant denies the allegations contained in Paragraph 156 of the Complaint.

    COMPLAINT ¶157:

          As a direct and proximate cause of Defendant’s misrepresentations Plaintiff and the
   Massachusetts Class Members, whose claims are not preempted by this Court’s rulings, have
   suffered damages.

   ANSWER:

            The Court has dismissed Plaintiff’s fraud claim. Thus, a response to Paragraph 157 of

   the Complaint is moot and not required. To the extent a response is deemed necessary,

   Defendant denies the allegations contained in Paragraph 157 of the Complaint.

                                                       COUNT IV

                                                  Aiding and Abetting

    COMPLAINT ¶158:

            Plaintiff realleges the above paragraphs 1-157 as if fully restated herein.

   ANSWER:

            Defendant incorporates its answers to paragraphs 1-157 as if fully stated herein.

    COMPLAINT ¶159:

           Defendant is liable to Plaintiff and Massachusetts Class Action Members for aiding and
   abetting. 10




   10
     An inference can be made from these allegations that the Defendant, “who . . . [was] responsible for employee-
   related issues for several years, would have knowledge of the wage statutes; further, the allegations are sufficient to
   establish that due to these overlapping responsibilities, the defendants assisted each other in their efforts to violate
   the law”. Blanco v. United Comb & Novelty Corp., Civil Action No. 13-10829-TSH, (D. Mass. Oct. 22, 2013)

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   ANSWER:

            The Court has dismissed Plaintiff’s aiding and abetting claim. Thus, a response to

   Paragraph 159 of the Complaint is moot and not required. To the extent a response is deemed

   necessary, Defendant denies the allegations contained in Paragraph 159 of the Complaint.

    COMPLAINT ¶160:

          Upon information and belief, Milnthorpe and Esko assisted in the aiding and abetting of
   Defendant’s fraudulent attempt to conceal Defendant’s violations that all KSBMs were and
   remain misclassified as exempt employees under the FLSA and Wage Act, and Massachusetts
   law.

   ANSWER:

            The Court has dismissed Plaintiff’s aiding and abetting claim. Thus, a response to

   Paragraph 160 of the Complaint is moot and not required. To the extent a response is deemed

   necessary, Defendant denies the allegations contained in Paragraph 160 of the Complaint.

    COMPLAINT ¶161:

           Upon information and belief, Milnthorpe and Esko became aware of the misclassification
   of all KSBMs, and actively assisted in the commission of the fraudulent concealment by failing
   to amend company policies, and by further attempting to reduce the Defendant’s own liability by
   issuing arbitration agreements to current and former KSBMs around the fall of 2018.

   ANSWER:

            The Court has dismissed Plaintiff’s aiding and abetting claim. Thus, a response to

   Paragraph 161 of the Complaint is moot and not required. To the extent a response is deemed

   necessary, Defendant denies the allegations contained in Paragraph 161 of the Complaint.

    COMPLAINT ¶162:

            Upon information and belief, due to the short statute of limitations period for the FLSA,
   Defendant with the assistance of Esko and Milnthorpe believed that they could avoid future
   liability regarding the widespread misclassifications by narrowing the window of time KSBMs
   had to bring a suit against them, by issuing arbitration agreements to current and former KSBMs
   in the Fall of 2018 instead of amending company policies.




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   ANSWER:

            The Court has dismissed Plaintiff’s aiding and abetting claim. Thus, a response to

   Paragraph 162 of the Complaint is moot and not required. To the extent a response is deemed

   necessary, Defendant denies the allegations contained in Paragraph 162 of the Complaint.

    COMPLAINT ¶163:

          From a six-year period from the date of filing this action, Plaintiff and the Massachusetts
   Class Action Members, worked in excess of forty hours per week.

   ANSWER:

            The Court has dismissed Plaintiff’s aiding and abetting claim. Thus, a response to

   Paragraph 163 of the Complaint is moot and not required. To the extent a response is deemed

   necessary, Defendant denies the allegations contained in Paragraph 163 of the Complaint.

                                   FOURTH CAUSE OF ACTION:

     MASSACHUSETTS LAW WAGE AND HOUR CLAIM (Brought on Behalf of Named
                            Plaintiff Only)

    COMPLAINT ¶164:

          Plaintiff re-alleges and incorporates by reference paragraphs 1 through 163 as if they
   were set forth again herein.

   ANSWER:

            Defendant incorporates its answers to paragraphs 1 through 163 as if fully stated herein.

    COMPLAINT ¶165:

           Defendant has violated M.G.L c. 149, §148 by failing to pay all compensation owed to
   Plaintiff within six days after the end of the pay period during which the wages were earned.

   ANSWER:

            Defendant denies the allegations set forth in Paragraph 165 of the Complaint.




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    COMPLAINT ¶166:

          Plaintiff has satisfied all prerequisites and conditions precedents necessary to seek the
   remedies sought in this action. Attached hereto as Exhibit “B” is the Attorney General’s
   authorization for Private Right of Action for the named Plaintiff Brigida Elliott.11

   ANSWER:

            The first sentence of Paragraph 166 states a legal conclusion to which no answer is

   required. Defendant lacks knowledge or information sufficient to form a belief about the truth of

   Plaintiff’s allegations regarding Exhibit B. Defendant denies any remaining allegations in

   Paragraph 166 of the Complaint.

                                             PRAYERS FOR RELIEF

          WHEREFORE, Plaintiff and the Collective and Class Action Members are entitled to and
   pray for the following relief:

            a.       Designation of this action as an FLSA Collective Action on behalf of Plaintiff and
                     the FLSA Collective Action Members, and prompt issuance of notice pursuant to
                     29 U.S.C. § 216(b) to all similarly situated members of the FLSA Collective
                     Action, apprising them of the pendency of this action, permitting them to assert
                     timely FLSA claims in this action by filing individual Consents to Sue pursuant to
                     29 U.S.C. § 216(b), and tolling of the statute of limitations;

            b.       Designation of this action as a Fed. R. Civ. P. 23 class action on behalf of Plaintiff
                     and the § 7434 Class Action Members, and prompt issuance of notice pursuant to
                     Fed. R. Civ. P. 23 to all similarly situated members of the § 7434 Class Action,
                     apprising them of the pendency of this action, permitting them to opt out of this
                     action, and tolling the statute of limitations;

            c.       Designation of this action as a Fed. R. Civ. P. 23 class action on behalf of Plaintiff
                     and the Massachusetts Class Action Members, and prompt issuance of notice
                     pursuant to Fed. R. Civ. P. 23, to all similarly situated members of the
                     Massachusetts Class Action, apprising them of the pendency of this action,
                     permitting them to opt out of this action, and tolling the statute of limitations;

            d.       A declaratory judgment that the practices complained of herein are unlawful
                     under the FLSA and M.G.L. c. 149, §§148 and 150;




   11
      “An employee so aggrieved who prevails in such an action shall be awarded treble damages, as liquidated
   damages, for any lost wages and other benefits and shall also be awarded the costs of the litigation and reasonable
   attorneys’ fees.” M.G.L c. 149, §150

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            e.   An injunction requiring Defendant to cease their unlawful practices under, and
                 comply with, M.G. L. c. 149, §§148 and 150;

            f.   An award of unpaid wages for all hours worked in excess of forty in a workweek
                 at a rate of time and one-half of the regular rate of pay due under the FLSA;

            g.   An award of treble damages for the loss of wages and other benefits owed to
                 Plaintiff, plus attorneys’ fees and costs, pursuant to M.G. L. c. 149 §§148 and
                 150;

            h.   An award of liquidated and punitive damages as a result of Defendant’s willful
                 failure to pay for all hours worked in excess of forty (40) hours in a work week, at
                 a rate of time and one-half of the regular rate of pay, pursuant to 29 U.S.C. § 216;

            i.   An award of liquidated and punitive damages as a result of Defendant’s willful
                 failure to pay for all hours worked in excess of forty in a workweek at a rate of
                 time and one-half of the regular rate of pay pursuant to M.G. L. c. 149, §§148 and
                 150;

            j.   An award of damages to those who have not elected out of this action under Fed.
                 R. Civ. P. 23., for violations of 26 U.S.C. § 7434, that they are entitled to inter
                 alia: (i) an amount equal to the greater of $5,000 or the sum of any actual
                 damages sustained as required by 26 U.S.C. § 7434(b), and as required by their
                 employment contract with Defendant for a six year period of time from the date of
                 filing of this action;

            k.   An award of damages to those who have not elected out of this action under Fed.
                 R. Civ. P. 23, as a result of Defendant’s willful failure to pay for all hours worked
                 in excess of forty (40) hours in a work week, at the regular rate of pay pursuant to
                 Massachusetts common law, as required by their employment contract with
                 Defendant, for the period of time from September 30, 2013 through September
                 29, 2016;

            l.   An award of damages representing the employer’s share of FICA, FUTA, state
                 unemployment insurance, and any other required employment taxes;

            m.   An award of prejudgment and post-judgment interest;

            n.   An award of costs and expenses of this action together with reasonable attorneys’
                 and expert fees, and an award of a service payment to the Plaintiff; and;

            o.   Such other and further relief as this Court deems just and proper.




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   ANSWER:

            Defendant admits that Plaintiff purports to seek relief but denies that Plaintiff is entitled

   to the relief set forth in the Prayers For Relief and denies that Plaintiff is entitled to any relief

   whatsoever.

                                    DEMAND FOR TRIAL BY JURY

           Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury on all questions of fact
   raised by the Complaint.

   ANSWER:

            Defendant demands a jury trial as to all issues so triable.

                            ANSWER TO REMAINDER OF COMPLAINT

            Defendant denies each and every allegation in the Complaint that has not been separately

   and specifically admitted.

                                AFFIRMATIVE AND OTHER DEFENSES

            In addition to the admissions, denials, and other responses set forth above, Defendant

   asserts the following affirmative and other defenses. In pleading these defenses, Defendant does

   not assume any burdens of production or proof that it would not otherwise have. Further,

   Defendant specifically reserves the right to raise any and all counterclaims and additional

   defenses, including affirmative defenses, that may become apparent at any time during the

   course of this litigation.

                                             FIRST DEFENSE

            This case may not be maintained as a collective action because Plaintiff has not and

   cannot establish the existence of each of the requirements under 29 U.S.C. § 216(b) and other

   relevant legal authority. Defendant maintains that Plaintiff’s pleadings fail to meet the

   requirements necessary to support a collective action or issuance of notice to potential collective

   action members.

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                                          SECOND DEFENSE

            Defendant acted in good faith and had reasonable grounds for believing that it acted

   properly in its pay practices with respect to Plaintiff and/or any potential collective action

   members.

                                           THIRD DEFENSE

            Plaintiff and/or any potential collective action members are not entitled to liquidated

   damages, penalties, multiplication of damages, or extension of any statute of limitations period

   because Defendant did not willfully, knowingly, or intentionally fail to comply with

   compensation provisions of federal or Massachusetts law.

                                          FOURTH DEFENSE

            To the extent that Plaintiff or any potential collective action member seeks recovery for

   any period beyond the statute of limitations period applicable to his or her claims, Plaintiff’s

   claims and those of any potential collective action members are barred, in whole or in part.

                                            FIFTH DEFENSE

            Plaintiff and/or any potential collective action members have received full payment for

   all work performed thereby barring the claims of Plaintiff and/or any potential collective action

   members.

                                            SIXTH DEFENSE

            To the extent Plaintiff alleges that she and/or purportedly similarly situated employees

   should be compensated for time properly deemed preliminary or postliminary time, such time is

   not compensable under the Portal-to-Portal Pay Act, 29 U.S.C. § 254(a).




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                                          SEVENTH DEFENSE

            Plaintiff’s claims are barred, in whole or in part, by the de minimis doctrine. If Defendant

   failed to properly pay any non-exempt employee for work time, which Defendant denies, the

   uncompensated time is de minimis and therefore not recoverable.

                                           EIGHTH DEFENSE

            Even if Plaintiff or potential collective action member was not paid for all activities

   performed while employed by Defendant, which Defendant denies, to the extent that such

   activities do not constitute compensable work under applicable law, or were not an integral and

   indispensable part of their principal activities of employment, they are not compensable and

   Plaintiff or such potential collective action member is not entitled to relief.

                                              NINTH DEFENSE

            To the extent that Plaintiff, or anyone who she alleges to be similarly situated, has

   sustained any damages, although such is specifically denied, Defendant is entitled to offset, set-

   off, recoupment, and/or reduction to the extent that Plaintiff, or the members of any potential

   collective action received overpayments, received expense reimbursements, received the benefit

   of payments to which they were not entitled, or received pay for any hours when they were not

   working.

                                            TENTH DEFENSE

            The Complaint, and each and every purported claim for relief alleged therein, is barred

   because any recovery from Defendant would result in the unjust enrichment of Plaintiff and the

   persons Plaintiff purports to represent.

                                         ELEVENTH DEFENSE

            Plaintiff’s claims are barred, in whole or in part, because Defendant exercised reasonable

   care to prevent, investigate, and promptly correct any violations of law or policy, and Plaintiff


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   unreasonably failed to avail herself of these preventive and corrective opportunities or otherwise

   to avoid harm.

                                          TWELFTH DEFENSE

            Plaintiff’s claims for relief are barred to the extent that Plaintiff’s own acts or omissions,

   including Plaintiff’s own failure to follow policies or procedures of her employer, caused or

   contributed to her claims.

                                        THIRTEENTH DEFENSE

            Plaintiff and the members of any potential collective action were exempt from the

   FLSA’s overtime pay requirements, including through the administrative, executive,

   professional, and/or combination exemptions under 29 U.S.C. § 213(a)(1), 29 C.F.R. Part 541.

                                       FOURTEENTH DEFENSE

            Plaintiff was exempt from Massachusetts’s overtime pay requirements, including through

   the administrative, executive, professional exemptions under Mass. Gen. Laws Ann. ch. 151, §

   1A.

                                         FIFTEENTH DEFENSE

            Further, and in the alternative if necessary, Defendant states that its actions with respect

   to Plaintiff, and the members of any potential collective action, were taken in good faith in

   conformity with and in reliance on a written administrative regulation, order, ruling, approval,

   interpretation, and/or administrative practice or policy pursuant to 29 U.S.C. § 259.

                                         SIXTEENTH DEFENSE

            Plaintiff’s claims for unpaid wages on her own behalf and on behalf of any potential

   collective action members are barred because Defendant did not have actual or constructive

   knowledge of any purported unpaid overtime work allegedly performed by Plaintiff or any

   potential collective action member.


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                                       SEVENTEENTH DEFENSE

             Plaintiff’s claims and those of any potential collective members are barred, in whole or in

   part, by the doctrines of unclean hands and/or equitable estoppel, to the extent they violated

   Defendant’s policies and/or under-reported or failed to report accurately their time worked.

                                        EIGHTEENTH DEFENSE

             To the extent that Plaintiff purports to represent any individuals who accepted arbitration

   agreements that require the claims asserted herein to be resolved in arbitration, or any such

   individuals attempt to join this action, such individuals are precluded from participating in this

   action and their claims are must be asserted, if at all, in bilateral arbitration proceedings.

                                        NINETEENTH DEFENSE

             Defendant opposes certification and dispute the propriety of collective action treatment.

   If the Court certifies a collective action in this case over Defendant’s objections, then Defendant

   asserts the affirmative defenses set forth herein against each and every member of the collective

   action.

             WHEREFORE, Defendant denies that Plaintiff is entitled to any relief and requests that

   Plaintiff’s Complaint be dismissed in its entirety with prejudice, that judgment be entered in

   Defendant’s favor and that Defendant be awarded its costs, attorneys’ fees, and such other relief

   as this Court deems appropriate.




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   Date: June 12, 2020                 Respectfully submitted,

                                       BARBEQUE INTEGRATED, INC.,


                                       By _/s/ Gerald L. Maatman, Jr.

                                           Gerald L. Maatman, Jr.*
                                           gmaatman@seyfarth.com
                                           Jennifer A. Riley*
                                           jriley@seyfarth.com
                                           Andrew D. Welker*
                                           awelker@seyfarth.com
                                           SEYFARTH SHAW LLP
                                           233 South Wacker Drive, Suite 8000
                                           Chicago, Illinois 60606
                                           Telephone: (312) 460-5000
                                           Facsimile: (312) 460-7000

                                           Alex Meier
                                           ameier@seyfarth.com
                                           Florida Bar No. 1011557
                                           SEYFARTH SHAW LLP
                                           1075 Peachtree Street, N.E.
                                           Suite 2500
                                           Atlanta, Georgia 30309-3958
                                           Telephone: (404) 885-1500
                                           Facsimile: (404) 892-7056

                                           *Admitted pro hac vice

                                           Attorneys For Defendant




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                                     CERTIFICATE OF SERVICE

            I certify that on June 12, 2020, I electronically filed the foregoing Answer to Plaintiff

   Brigida Elliott’s Amended Collective And Class Action Complaint was filed with the Clerk of

   Court using the CM/ECF system, which will automatically send electronic notification of such

   filing to the following attorneys of record:

                                      Jay N. Michelman
                                      Michelman Law Offices
                                      1333 E Columbus Avenue
                                      PO Box 2992
                                      Springfield, MA 01101-2992
                                      413-737-1166
                                      Fax: 413-736-0429
                                      Email: michelmanlaw@hotmail.com
                                      ATTORNEY TO BE NOTICED




                                                   By s/ Alex Meier
                                                         Attorney for Defendant




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